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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 QUIANA BANKHEAD, JOSEPH                              )
 BOWDEN, CORETTA BRANCH, LEE                          )
 FRIGGIN, EUGENE HOOKS, KERRY                         )
 LEEGAN, KELLEE LEHMAN, DONA VAN                      )
 ROGERS, MICHAEL SAPP, and                            )
 ROSALIND SAPP,                                       )   Case No.
                                                      )
                Plaintiffs,                           )   NOTICE OF REMOVAL OF CIVIL
                                                      )   ACTION PURSUANT TO [28 U.S.C. §
         v.                                           )   1331 Federal Question Jurisdiction]
                                                      )
 SANTANDER CONSUMER USA INC. an                       )   (Removed from Circuit Court Of Cook
 Illinois corporation                                 )   County, Illinois County Department,
                                                      )   Chancery Division Case No.
                Defendant.                            )   2020CH00489)
                                                      )


                                    NOTICE OF REMOVAL

       Defendant Santander Consumer USA Inc. (“SC”), by its attorneys, and pursuant to 28

U.S.C. §§ 1331, 1441 and 1446 file this Notice of Removal to remove this action from the Circuit

Court of Cook County, Illinois, County Department, Chancery Division to the U.S. District Court

for the Northern District of Illinois, Eastern Division. In support thereof, SC states as follows:

       1.      On January 15, 2020 Plaintiffs Quiana Bankhead, Joseph Bowden, Coretta Branch,

Lee Friggin, Eugene Hooks, Kerry Leegan, Kellee Lehman, Dona Van Rogers, Michael Sapp, and

Rosalind Sapp (collectively the “Plaintiffs”) filed this action against SC in Circuit Court of Cook

County, Illinois, County Department, Chancery Division. (the “State Lawsuit”).

       2.      This action is being removed pursuant to 28 U.S.C. § 1441(a) (“[A]ny civil action

brought in a State court of which district courts of the United States have original jurisdiction, may




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be removed.”). A notice of removal must be filed “within thirty days after the receipt by the

defendant, through service or otherwise, of a copy of the initial pleading.” 28 U.S.C. § 1441(b).

       3.      SC is the Defendant in the State Lawsuit and was served with the Complaint on

January 23, 2020. SC is filing its Notice of Removal within 30 days of service. Accordingly, this

Notice of Removal is timely filed under 28 U.S.C. § 1441(b).

       4.      A jury trial was demanded in the State Lawsuit.

       5.      Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders SC has

received in the State Lawsuit are attached hereto as Exhibit A.

       6.      This Court has federal question jurisdiction over this matter under 28 U.S.C. § 1331

and 1441(a).

       7.      Plaintiffs’ claims arise from SC’s alleged unsolicited telephone calls to Plaintiffs’

cellular phones in an attempt to collect debts in alleged violation of the Telephone Consumer

Protection Act (“TCPA”) 47 U.S.C. § 227, et seq. and the Fair Debt Collection Practices Act

(“FDCPA”) 15 U.S.C. § 1692, et seq. See Compl. ¶¶ 1-7, 20, 113-133.

       8.      Because those claims are governed by federal law, the Court has original federal

question jurisdiction over Plaintiffs’ claims under 28 U.S.C. § 1331. Because the Court has

original federal question jurisdiction over the claims, this case is removable under 28 U.S.C.

§ 1441(a).

       9.      Venue is proper in the District Court under 28 U.S.C. § 1441(a), because the

District Court is in the district and division within which the State Lawsuit is pending.

       10.     SC will, contemporaneously with the filing of this Notice of Removal, provide all

parties with written notice of the filing of this Notice of Removal, and will promptly file a copy of

this Notice of Removal with the Clerk of the Circuit Court.



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       WHEREFORE, SC gives notice that the State Lawsuit is removed from the Circuit Court

of Cook County, Illinois to the United State District Court for the Northern District of Illinois,

Eastern Division.



Dated: February 21, 2020                     By: /s Amy Starinieri Gilbert
                                             Amy Starinieri Gilbert
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                                             Counsel for Defendant




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 21, 2020, a copy of the foregoing document was filed in
the United States District Court for the Northern District of Illinois via the Court’s electronic filing
system and that this document has been sent to all counsel of record via the Court’s electronic
filing system.


                                                /s/Amy Starinieri Gilbert
                                               Amy Starinieri Gilbert




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